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    MARYELLIS BUNN, and
  8 1AND8 INC., dba MUSEUM OF ICE
    CREAM
  9
10                               UNITED STATES DISTRICT COURT
11               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
12
13 PRETTY IN PLASTIC, INC., a                          Case No. 2:18-cv-06091-GW (SKx)
   California corporation,
14                                                     STIPULATION EXTENDING TIME
                Plaintiff,                             TO RESPOND TO INITIAL
15                                                     COMPLAINT BY NOT MORE
         v.                                            THAN 30 DAYS (L.R. 8-3)
16
   MARYELLIS BUNN, an individual;                      The Hon. George H. Wu
17 and1AND8 INC., a Delaware
   corporation dba MUSEUM OF ICE                       Complaint served:      Aug. 25, 2018
18 CREAM,                                              Current response date: Sept. 17, 2018
                                                       New response date:     Oct. 9, 2018
19                       Defendants.                                     _________________
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      SMRH:487701487.2        STIPULATION EXTENDING TIME TO RESPOND TO INITIAL COMPLAINT BY NOT
                                                                     MORE THAN 30 DAYS (L.R. 8-3)
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  1           Pursuant to Local Rule 8-3, the parties hereby stipulate to extend the time for
  2 defendants Maryellis Bunn and 1AND8 Inc. dba Museum of Ice Cream
  3 (collectively, “Defendants”) to respond to the initial complaint by twenty-two (22)
  4 days. As a condition of this stipulation, Defendants hereby expressly waive all
  5 arguments premised on any alleged or actual deficiency in service of process. There
  6 have been no such prior stipulations, and this stipulation does not extend the time to
  7 respond to the initial complaint by more than a cumulative total of thirty (30) days
  8 from the date the response initially would have been due.
  9           Defendants shall now have through October 9, 2018 to respond to the initial
10 complaint.
11            IT IS SO STIPULATED.
12 Dated: September 7, 2018
13                                    SHEPPARD, MULLIN, RICHTER & HAMPTON
14                                    LLP

15
16                                    By             /s/ Carlo F. Van den Bosch
                                                    CARLO F. VAN DEN BOSCH
17                                                    GAZAL POUR-MOEZZI
18                                                    Attorneys for Defendants
                                                        MARYELLIS BUNN
19                                                1AND8 INC., dba MUSEUM OF ICE
20                                                            CREAM
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      SMRH:487701487.2    STIPULATION EXTENDING TIME TO RESPOND TO INITIAL COMPLAINT BY NOT
                                                                 MORE THAN 30 DAYS (L.R. 8-3)
Case 2:18-cv-06091-GW-SK Document 15 Filed 09/07/18 Page 3 of 3 Page ID #:44




  1 Dated: September 7, 2018
  2                                  LYNCH LLP
  3
  4
                                     By                    /s/ Connor Lynch
  5                                                       CONNOR LYNCH
  6
                                                       Attorneys for Plaintiff
  7                                                  PRETTY IN PLASTIC, INC.
  8
  9 ATTESTATION: I certify that I obtained concurrence in the filing of this document
10 from all parties whose electronic signatures appear above.
11
      Dated: September 7, 2018 /s/ Carlo F. Van den Bosch
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      SMRH:487701487.2   STIPULATION EXTENDING TIME TO RESPOND TO INITIAL COMPLAINT BY NOT
                                                                MORE THAN 30 DAYS (L.R. 8-3)
